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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
RAVIDATH LAWRENCE RAGBIR, et al.,

                                 Plaintiffs,                             18-cv-1159 (PKC)

                         -against-
                                                                    OPINION AND ORDER
                                                                    ON STAY APPLICATION

THOMAS D. HOMAN, et al.,

                                  Defendants.
-----------------------------------------------------------x

CASTEL, U.S.D.J.

                In a Memorandum and Order issued on May 23, 2018, this Court concluded that it

lacked subject matter jurisdiction to enjoin the execution of a removal order directed to Ravidath

Lawrence Ragbir. Ragbir v. Homan, 18 Civ. 1159 (PKC), 2018 WL 2338792 (S.D.N.Y. May

23, 2018). Plaintiff Ragbir is the subject of an order of removal that has become final after

review by the Board of Immigration Appeals (“BIA”). That final order of removal was reviewed

by the United States Court of Appeals for the Second Circuit, which denied relief, and a petition

for a writ of certiorari was denied by the United States Supreme Court. See Ragbir v. Holder,

389 F. App’x 80, 85 (2d Cir. 2010) (summary order) (denying petition to review the order of

removal), cert. denied, 565 U.S. 816 (2011). Thereafter, Ragbir moved before the BIA to

reconsider and reopen the order, a motion which was denied and resulted in another trip to the

Second Circuit, which dismissed the petition for review. See Ragbir v. Lynch, 640 F. App’x

105, 106–08 (2d Cir. 2016) (summary order) (dismissing petition for review of the denial of the

motion to reopen and reconsider). All that remains is the execution of the unchallenged, final
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and fully reviewed removal order. The application for a stay of removal pending appeal of the

May 23 Memorandum and Order will be denied.

DISCUSSION

                In determining whether to grant a stay of removal pending appeal, “a court

considers four factors: ‘(1) whether the stay applicant has made a strong showing that he is likely

to succeed on the merits; (2) whether the applicant will be irreparably injured absent a stay; (3)

whether issuance of the stay will substantially injure the other parties interested in the

proceeding; and (4) where the public interest lies.’” Nken v. Holder, 556 U.S. 418, 426 (2009)

(quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)). “The first two factors . . . are the most

critical.” Id. at 434.

                Circuit precedent also permits a stay pending appeal to be granted if a movant

shows irreparable harm and “sufficiently serious questions going to the merits to make them a

fair ground for litigation and a balance of hardships tipping decidedly toward the party

requesting the preliminary relief.” Citigroup Glob. Mkts., Inc. v. VCG Special Opportunities

Master Fund Ltd., 598 F.3d 30, 35 (2d Cir. 2010) (quoting Jackson Dairy, Inc. v. H. P. Hood &

Sons, Inc., 596 F.2d 70, 72 (2d Cir. 1979)) (discussing the preliminary injunction standard).

Plaintiffs have not established that they are entitled to a stay under either standard.

  I.    The Merits of the Appeal

                At the core of this Court’s decision on subject matter jurisdiction is a statutory

restriction on this Court’s jurisdiction found in 8 U.S.C. § 1252(g). It provides, in part, that “no

court shall have jurisdiction to hear any cause or claim by or on behalf of any alien arising from

the decision or action by the Attorney General to . . . execute removal orders against any alien

under this chapter.” Plaintiffs argue that “the Second Circuit is likely to reverse this Court’s



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reading of Section 1252(g) to bar review of constitutional claims,” relying on Calcano-Martinez

v. INS, 232 F.3d 328 (2d Cir. 2000). (Doc. 86 at 9). But Calcano-Martinez resolved a question

arising before the federal immigration laws were amended by the REAL ID Act of 2005, Pub. L.

No. 109-13, 119 Stat. 231. The REAL ID Act made plain that section 1252(g) deprives courts of

jurisdiction to enjoin the execution of orders of removal “notwithstanding any other provision of

law (statutory or nonstatutory), including section 2241 of Title 28 [writ of habeas corpus], or any

other habeas corpus provision, and sections 1361[writ of mandamus] and 1651 [All Writs Act] of

such title.” § 1252(g); REAL ID Act, § 106(a)(3). Since then, the Second Circuit has held that

the addition of this language “eliminat[ed] the availability of habeas corpus relief in the United

States District Courts for aliens seeking to challenge orders of removal entered against them.”

Ruiz-Martinez v. Mukasey, 516 F.3d 102, 105 (2d Cir. 2008).

               The Court’s May 23 ruling concludes that in three designated, narrow

circumstances, the plain terms of section 1252(g) do not permit a challenge on any basis,

statutory or nonstatutory, including a constitutionally-based challenge. The Court found it

unnecessary to consider whether the section 1252(g) bar is, itself, constitutional because the

Court concluded that plaintiffs had no viable claim. (Doc. 83 at 14). The alleged pattern of

retaliatory actions of which plaintiffs complain did not begin until January 2017. (Compl’t ¶ 28).

By January 2017, removal proceedings against Ragbir had been initiated and concluded with a

final and fully reviewed order of removal. The Court concluded in the May 23 Memorandum

and Order that Ragbir’s asserted injury flows from this final and fully reviewed order of removal,

not the execution of that order. (Doc. 83 at 15).




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                  That conclusion is not altered by the Supreme Court’s recent holding in Lozman

v. City of Riviera Beach, 585 U.S. ___ (June 18, 2018). 1 Lozman determined that a plaintiff

may maintain a civil claim for damages against a municipality for First Amendment retaliation

for an arrest made pursuant to a retaliatory official municipal policy, even if there was probable

cause for the arrest, if the “the alleged constitutional violation was a but-for cause” of the arrest.

585 U.S. at ____, slip op. at 7 (citing Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429

U.S. 274 (1977)). In Ragbir’s case, retaliation for speech cannot serve as a but-for cause of his

removal from the country because the order of removal was lawfully entered and was fully

enforceable prior to the formation of the alleged retaliatory animus. Plaintiffs concede that any

decision of this Court—or the Court of Appeals—could not alter the order of removal. (Compl’t

¶ 11 (“Plaintiffs here do not challenge underlying orders of removal or actions committed to

unreviewable agency discretion.”)). Their concession on this point is fatal to their claim.

                  A further distinction from Lozman is found in Reno v. American-Arab Anti-

Discrimination Committee, 525 U.S. 471 (1999) (“AADC”), in which the Supreme Court

interpreted the predecessor (and less restrictive) version of section 1252(g). The Court observed

that the harm resulting from delay in a deportation case is greater than in a criminal case:

“Whereas in criminal proceedings the consequence of delay is merely to postpone the criminal’s

receipt of his just deserts, in deportation proceedings the consequence is to permit and prolong a

continuing violation of United States law.” Id. at 490. The Supreme Court concluded that “in all

cases, deportation is necessary in order to bring to an end an ongoing violation of United States

law.” Id. at 491 (emphasis in original).



1
 This Court’s May 23 Memorandum and Order cited to cases in the criminal context that might not survive
Lozman, but the context in which plaintiffs’ action arises is materially different than that in Lozman for reasons
explained.

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                 Simply put, this action seeks to enjoin the execution of a final order of removal,

and section 1252(g) deprives this Court of jurisdiction to enter an order enjoining the execution

of a removal order. Plaintiffs are not likely to prevail on appeal, nor do they raise a serious

question on the merits.

    II.   Irreparable Harm to Ragbir

                 Plaintiffs’ claim irreparable harm flowing from Ragbir’s removal and separation

from his family and community. (Doc. 86 at 12, 15–17). The claim and its factual support, at

first blush, sound plausible and even appealing. But plaintiffs do not claim that Ragbir is not

subject to a final and fully enforceable order of removal. More modestly, plaintiffs claim that he

may not be removed now, that removal must wait until the taint of retaliatory animus has been

proven by defendants to have dissipated. (Compl’t at 41 at c.) The harm flowing from removal

now versus an unspecified point in the future is considerably more abstract. Also, to the extent

Ragbir suffers anxiety from being under the cloud of deportation to Trinidad and Tobago, that

cloud would not be lifted if he prevailed on all claims for relief in this action. 2 Absent

revocation of the final order of removal, relief not sought here (e.g., Doc. 12 at 24; Doc 72 at 9),

his removal is inevitable, as are the harms he has identified. In other words, it is a matter of

when, not if, these harms will occur.

                 The same is true of plaintiffs’ claim that Ragbir’s removal would deprive him of

First Amendment rights and deprive them of the benefits of his exercise of those rights. Any

diminishment in the effectiveness of his advocacy is an incident of his final order of removal.

“[T]he First Amendment does not prevent restrictions directed at . . . [nonexpressive] conduct

from imposing incidental burdens on speech.” Sorrell v. IMS Health Inc., 564 U.S. 552, 567


2
 A complete victory likely would come with a sense of hope and euphoria, but the deprivation of the foregoing is
not irreparable injury.

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(2011). Ragbir’s removal flows from the final and fully reviewed order of removal that predates

any retaliatory conduct alleged in the complaint.

               Plaintiffs also note that if Ragbir is removed, there is “no guarantee that he will be

able to return to the United States” in the event he succeeds on appeal and then on the merits of

his claims. (Doc. 86 at 12). Were the bar for establishing harm so low, the execution of most

final and fully reviewed orders of removal would likely meet the standard. But this would

conflict with the Supreme Court’s clear mandate that “simply showing some ‘possibility of

irreparable injury’ fails to satisfy the [irreparable harm] factor” of the standard for a stay pending

appeal. Nken, 556 U.S. at 434 (citation omitted) (quoting Abbassi v. INS, 143 F.3d 513, 514

(9th Cir. 1998)); see also Dopico v. Goldschmidt, 687 F.2d 644, 650 (2d Cir. 1982) (“[T]he

District Court has inherent power to fashion relief appropriate to the situation.”).

III.   Harm to the Government and the Impact of the Stay on the Public Interest

               Where, as here, the government is opposing a motion for a stay, there is a merger

of the third and fourth factors of the inquiry—the harm to the government and the impact of the

grant or denial of a stay on the public interest. Nken, 556 U.S. at 435. “There is always a public

interest in prompt execution of removal orders: The continued presence of an alien lawfully

deemed removable undermines the streamlined removal proceedings . . . , and ‘permit[s] and

prolong[s] a continuing violation of United States law.’” Id. at 436 (alterations in original)

(quoting AADC, 525 U.S. at 490).

               Plaintiffs downplay the relevancy of this “supposed interest,” arguing that it “is

directly undermined by the fact that the Government has allowed Mr. Ragbir to remain in the

United States legally for the past 11 years.” (Doc. 86 at 18). But plaintiffs effectively read out

of their chronology the time Ragbir spent pursuing, quite appropriately, his petition for review,



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his subsequent application to reconsider and reopen the proceedings, and his review of that

denial. Also, enforcement delays may be the product of the enforcement priorities of

immigration officials. It is a prominent feature of democracy that enforcement priorities

sometimes change with the results of an election.

                   Plaintiffs correctly note that there is “a public interest in preventing aliens from

being wrongfully removed.” Nken, 556 U.S. at 436. But there is little concern of wrongful

removal here. The validity of Ragbir’s removal has been tested repeatedly and upheld.

                   Ending an ongoing violation of United States law, however prolonged, is in the

public interest.

CONCLUSION

                   Plaintiffs’ motion for a stay pending appeal is DENIED. (Doc. 85).

                   SO ORDERED.




Dated: New York, New York
       June 19, 2018




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